Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 1 of 22 Page ID #:14




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Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 2 of 22 Page ID #:15



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    7
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    8 individually and on behalf of all others similarly situated

    9

   10                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        FOR THE COUNTY OF ORANGE, CIVIL COMPLEX CENTER
   11

   12 RICHARD W. HANKEY, individually and                    CASE NO.:
      on behalf of all others similarly situated,
   13                                                        Assigned For All Purposes To:
                                                             Judge:
   14                      Plaintiffs,                       Dept.:
                                                                    $9
   15                                                        CLASS ACTION COMPLAINT
               v.                                            PURSUANT TO CALIFORNIA CODE OF
   16                                                        CIVIL PROCEDURE §382
      THE HOME DEPOT USA, INC., a Delaware
   17 Corporation, and DOES 1 through 50,                    COMPLAINT FOR:
      inclusive,
   18                                                        1.     Failure to Pay Wages Including
                       Defendants.                                  Overtime as Required by Labor
   19                                                               Code§§ 510 and 1194
                                                             2.     Failure to Pay Timely Wages
   20                                                               Required by Labor Code § 203
                                                             3.     Failure to Provide Accurate Itemized
   21                                                               Wage Statements as Required by
                                                                    Labor Code § 226
   22                                                        4.     Violation of Business & Professions
                                                                    Code § 17200, et seq.
   23

   24                                                        DEMAND FOR JURY TRIAL
   25

   26

   27

   28


                                            CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 3 of 22 Page ID #:16



    1         Plaintiff RICHARD W. HANKEY³3ODLQWLII´, individually and on behalf of all others
    2 similarly situated (hereinafter collectively referred to as the ³&ODVV´RU³&ODVV0HPEHU´), hereby

    3 files this Complaint against Defendants THE HOME DEPOT USA, INC.,                           a Delaware
    4 Corporation, and DOES 1-50, LQFOXVLYH FROOHFWLYHO\ ³'HIHQGDQWV´ and alleges on information

    5 and belief as follows:

    6                             I.     JURISDICTION AND VENUE
    7          1.      This class action is brought pursuant to California Code of Civil Procedure §382.
    8 The monetary damages and restitution sought by Plaintiff exceed the minimum jurisdiction limits

    9 of the California Superior Court and will be established according to proof at trial.
   10          2.      This Court has jurisdiction over this action pursuant to the California Constitution
   11 Article VI §10, which grants the California Superior Court original jurisdiction in all causes

   12 except those given by statute to other courts. The statutes under which this action is brought do

   13 not give jurisdiction to any other court.

   14          3.      This Court has jurisdiction over Defendants because, upon information and belief,
   15 each Defendant either has sufficient minimum contacts in California, or otherwise intentionally

   16 avails itself of the California market so as to render the exercise of jurisdiction over it by the
   17 California Courts consistent with traditional notions of fair play and substantial justice.

   18          4.      The California Superior Court also has jurisdiction in this matter because the
   19 individual claims of the members of the Classes herein are under the seventy-five thousand dollar

   20 ($75,000.00) jurisdictional threshold for Federal Court and the aggregate claim, including attorneys¶

   21 fees, is under the five million dollar ($5,000,000.00) threshold of the Class Action Fairness Act of

   22 2005. Further, there is no federal question at issue, as the issues herein are based solely on California

   23 statutes and law, including the Labor Code, applicable IWC Wage Orders, CCP, California Civil

   24 &RGH³&&´DQG%	3&.

   25          5.      Venue is proper in this Court because upon information and belief, one or more of
   26 the Defendants, reside, transact business, or have offices in this County and/or the acts or
   27 omissions alleged herein took place in this County.

   28 ///


                                                        -1-
                                             CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 4 of 22 Page ID #:17



    1                                   II.       PARTIES
    2          6.          Plaintiff, RICHARD W. HANKEY, was at all times relevant to this action, a
    3 resident of California. Plaintiff was employed by Defendants in their Rancho Cordova, California

    4 store, in approximately June 2016 as a Non-Exempt Employee until his separation in

    5 approximately May 2018.

    6          7.          Defendants THE HOME DEPOT USA, INC., are engaged in the ownership and
    7 operation of an American home improvement supplies retailing company that sells tools,

    8 construction products, and services. Defendants operate various store locations across the United

    9 States and California, including but not limited to Bakersfield, Los Angeles, Orange, Sacramento,
   10 San Diego, and San Francisco. Plaintiff estimates there are in excess of one hundred Non-Exempt

   11 Employees who work or have worked for Defendants over the last four years.

   12          8.     Other than identified herein, Plaintiff is unaware of the true names, capacities,
   13 relationships, and extent of participation in the conduct alleged herein, of the Defendants sued as

   14 DOES 1 through 50, but is informed and believes and thereon alleges that said defendants are

   15 legally responsible for the wrongful conduct alleged herein and therefore sues these defendants by

   16 such fictitious names. Plaintiff will amend this complaint when their true names and capabilities
   17 are ascertained.

   18          9.        Plaintiff is informed and believes and thereon alleges that each defendant, directly
   19 or indirectly, or through agents or other persons, employed Plaintiff and other members of the

   20 Class, and exercised control over their wages, hours, and working conditions.                 Plaintiff is
   21 informed and believes and thereon alleges that each Defendant acted in all respects pertinent to

   22 this action as the agent of the other Defendants, carried out a joint scheme, business plan or policy

   23 in all respects pertinent hereto, and the acts of each Defendant are legally attributable to the other

   24 defendants.

   25                                  III. CLASS ACTION ALLEGATION
   26          10.       Plaintiff brings this action individually and on behalf of all others similarly
   27 situated as a class action pursuant to Code of Civil Procedure § 382. The members of the Class

   28 are defined as follows:


                                                         -2-
                                              CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 5 of 22 Page ID #:18



    1
               All persons who have been employed by Defendants as Non-Exempt Employees or
    2          equivalent positions, however titled, in the state of California within four (4) years from
    3          the filing of the Complaint in this action until its resolution. (collectively referred to as the
               ³&ODVV´RU³3ODLQWLII¶V&ODVV´ RU³&ODVV0HPEHUV´
    4
               11.        Plaintiff also seeks to represent the subclass(es) composed of and defined as
    5
        follows:
    6

    7          Sub-Class 1: All Class Members who are or were employed by Defendants at any time
               between 2FWREHU 2017 and the present and who received wage statements from
    8          Defendant KHUHLQDIWHUFROOHFWLYHO\UHIHUUHGWRDVWKH³:DJH6WDWHPHQW6XEFODVV´
    9          Sub-Class 2: All Class Members who are or were employed by Defendants and subject to
               'HIHQGDQW¶V8QIDLU%XVLQHVV3UDFWLFHVKHUHLQDIWHUFROOHFWLYHO\UHIHUUHGWRDVWKH³8QIDLU
   10          %XVLQHVV3UDFWLFH6XEFODVV´
   11          Sub-Class 3: All Class Members who have been employed by Defendants at any time
               between October 2015 and the present and have separated their employment (hereinafter
   12          FROOHFWLYHO\UHIHUUHGWRDVWKH³:DLWLQJ7LPH3HQDOW\6XEFODVV´
   13

   14
               12.          Plaintiff reserves the right under California Rule of Court 3.765(b) and other
   15
        applicable laws to amend or modify the class definition with respect to issues or in any other
   16
        ways. Plaintiff is a member of the Class as well as each of the Sub-Classes.
   17
               13.          7KHWHUP³&ODVV´LQFOXGHV3ODLQWLIIDQGDOOPHPEHUVRIWKH&ODVVDQGeach of the
   18
        Sub-Classes, if applicable. Plaintiff seeks class-wide recovery based on the allegations set forth in
   19
        this complaint.
   20
               14.           There is a well-defined community of interest in the litigation and the proposed
   21
        Class is easily ascertainable through the records Defendants are required to keep.
   22
               15.           Numerosity. The members of the Class are so numerous that individual joinder
   23
        of all of them as plaintiffs is impracticable. While the exact number of the Class members is
   24
        unknown to Plaintiff at this time, Plaintiff is informed and believes and thereon alleges that there
   25
        are at least 100 (one hundred) Class members.
   26
               16.           Commonality. Common questions of law and fact exist as to all Class members
   27
        and predominate over any questions that affect only individual members of the Class. These
   28


                                                         -3-
                                              CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 6 of 22 Page ID #:19



    1 common questions include, but are not limited to:

    2                  i.      Whether Defendants failed to pay wages for all time worked including
    3 overtime in violation of Labor Code §§ 510, 1194, 1197;

    4                ii.       Whether Defendants failed to maintain accurate time record including
    5 pursuant to Labor Code sections 1174.5 and the applicable IWC Wage Orders;

    6                iii.      Whether Defendants provided accurate itemized wage statements pursuant
    7 to Labor Code section 226;

    8                iv.       Whether Defendants violated Labor Code §§ 201-204 by failing to pay all

    9 ZDJHVRZHGXSRQVHSDUDWLRQIURPWKH'HIHQGDQWV¶HPSOR\
   10                 v.       Whether Defendants violated Business and Professions Code and Labor

   11 Code sections 201-204, 226, 510, 558, 1174, 1174.5, 1175, 1194, 1197, 1197.1, and applicable

   12 IWC Wage Orders which violation constitutes a violation of fundamental public policy; and

   13                vi.       Whether Plaintiff and the Members of the Plaintiff Class are entitled to

   14 equitable relief pursuant to Business and Professions Code section 17200, et. seq.

   15          17.          Typicality. 3ODLQWLII¶Vclaims herein alleged are typical of those claims which

   16 could be alleged by any member of the Class and/or Subclass, and the relief sought is typical of
   17 the relief which would be sought by each member of the Class and/or Subclass in separate actions.

   18 Plaintiff and all members of the Class and or Subclass sustained injuries and damages arising out

   19 of and caused by Defendants' common course of conduct in violation of California laws,

   20 regulations, and statutes as alleged herein.

   21          18.          Adequacy. Plaintiff is qualified to, and will fairly and adequately protect the

   22 interests of each member of the Class and/or Subclass with whom he has a well defined

   23 community of interest and typicality of claims, as demonstrated herein. Plaintiff acknowledges an

   24 obligation to make known to the Court any relationships, conflicts, or differences with any

   25 member of the Class and/or SubclaVV3ODLQWLII¶VDWWRUQH\VDQGWKHSURSRVHG&RXQVHOIRUWKH&ODVV

   26 and Subclass are versed in the rules governing class action discovery, certification, litigation, and
   27 settlement and experienced in handling such matters. Other former and current employees of

   28 Defendants may also serve as representatives of the Class and Subclass if needed.


                                                        -4-
                                             CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 7 of 22 Page ID #:20



    1          19.        Superiority. A class action is superior to other available means for the fair and
    2 efficient adjudication of the claims of the Class and would be beneficial for the parties and the

    3 court. Class action treatment will allow a large number of similarly situated persons to prosecute

    4 their common claims in a single forum, simultaneously, efficiently, and without the unnecessary

    5 duplication of effort and expense that numerous individual actions would require. The damages

    6 suffered by each Class member are relatively small in the sense pertinent to class action analysis,

    7 and the expense and burden of individual litigation would make it extremely difficult or

    8 impossible for the individual Class Members to seek and obtain individual relief. A class action

    9 will serve an important public interest by permitting such individuals to effectively pursue
   10 recovery of the sums owed to them. Further, class litigation prevents the potential for inconsistent

   11 or contradictory judgments raised by individual litigation.

   12          20.        Public Policy Considerations: Employers in the state of California violate
   13 employment and labor laws everyday. Current employees are often afraid to assert their rights out

   14 of fear of direct or indirect retaliation. Former employees are fearful of bringing actions because

   15 they believe their former employers may damage their future endeavors through negative

   16 references and/or other means. The nature of this action allows for the protection of current and
   17 IRUPHUHPSOR\HHV¶ULJKWVZLWKRXWIHDURUUHWDOLDWLRQRUGDPDJH.

   18                                   IV.   FACTUAL ALLEGATIONS
   19          21.    At all times set forth herein, Defendants employed Plaintiff and other persons in the
   20 capacity of non-exempt positions, however titled, throughout the state of California.

   21          22.    Plaintiff is informed and believes Class Members have at all times pertinent hereto
   22 been Non-Exempt within the meaning of the California Labor Code and the implementing rules

   23 and regulations of the IWC California Wage Orders.

   24          23.    Defendants continue to employ Non-Exempt Employees, however titled, in
   25 California and implement a uniform set of policies and practices to all non-exempt employees,

   26 regardless of the location they were employed.
   27          24.    Plaintiff is informed and believes, and thereon alleges, that Defendants are and
   28 were advised by skilled lawyers and other professionals, employees, and advisors with knowledge


                                                      -5-
                                           CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 8 of 22 Page ID #:21



    1 RIWKHUHTXLUHPHQWVRI&DOLIRUQLD¶VZDJHDQGHPSOR\PHQWODZV.

    2         25.     During the relevant time frame, Defendants compensated Plaintiff and Class
    3 Members based upon an hourly rate.

    4         26.     Plaintiff is informed and believes that Plaintiff and Class Members were not
    5 compensated for all time worked as Plaintiff and Class Members performed worked prior to the

    6 start of their scheduled shifts and also at the end of their scheduled shifts. Plaintiff and Class

    7 Members were not compensated for such work as Defendants would round their times to only

    8 reflect their scheduled start times and end times. This policy resulted in Plaintiff and the Class

    9 0HPEHU EHLQJ VXEMHFWHG WR 'HIHQGDQWV¶ XQODZIXO URXQGLQJ SROLF\ 'HIHQGDQWV¶ LPSOHPHQWHG
   10 unlawful rounding policy consistently resulted in a failure to pay employees for the time worked

   11 ZKLOHXQGHUWKHFRQWURORI'HIHQGDQWV'HIHQGDQWV¶URXQGLQJSROLcy over time resulted on a large

   12 and disproportionate underpayment of wages including overtime wages to Plaintiff and Class

   13 Members.

   14         27.     Upon information and belief, Defendants failed to accurately calculate bonuses
   15 earned by Plaintiff and Class Members into their regular rates of pay for overtime purposes.

   16         28.     Upon information and belief, Defendants failed to provide accurate itemized wage
   17 statements to Plaintiff and Class Members as the wage statements provided failed to accurately

   18 account for all hours worked.

   19         29.     Upon information and belief, Defendants failed to keep accurate records pursuant
   20 to Labor Code § 1174.5.

   21         30.     Upon information and belief, Defendants knew and or should have known that it is
   22 improper to implement policies and commit unlawful acts such as:

   23         (a)     failing to compensate Plaintiff and Class Members of regular and overtime wages
   24                 for all hours worked;
   25         (b)     failing to provide accurate itemized wage statements;
   26         (c)     failing to timely pay wages; and
   27         (d)     conducting and engaging in unfair business practices.
   28         31.     In addition to the violations above, and on information and belief, Defendants knew

                                                     -6-
                                          CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 9 of 22 Page ID #:22



    1 they had a duty to compensate Plaintiff and Class Members for the allegations asserted herein and

    2 that Defendants had the financial ability to pay such compensation, but willfully, knowingly,

    3 recklessly, and/or intentionally failed to do so.

    4          32.    Plaintiff and Class Members they seek to represent are covered by, and Defendants
    5 are required to comply with, applicable California Labor Codes, Industrial Welfare Commission

    6 Occupational Wage Orders (hereinafter ³,:&:DJH2UGHUV´and corresponding applicable

    7 provisions of California Code of Regulations, Title 8, section 11000 et seq.

    8                                     FIRST CAUSE OF ACTION
    9                      FAILURE TO PAY WAGES INCLUDING OVERTIME
   10                                       (Against All Defendants)
   11          33.      Plaintiff incorporates and re-alleges each and every allegation contained above as
   12 though fully set forth herein.

   13          34.    $WDOOWLPHVUHOHYDQWWKH,:&ZDJHRUGHUVDSSOLFDEOHWR3ODLQWLII¶VDQGWKH&ODVV
   14 require employers to pay its employees for each hour worked at least minimum wage. ³+RXUV

   15 ZRUNHG´PHDQVWKHWLPHGXULQJZKLFKDQHPSOR\HHLVVXEMHFWWRWKHFRQWURORIDQHPSOR\HUDQG

   16 includes all the time the employee is suffered or permitted to work, whether or not required to do
   17 so, and in the case of an employee who is required to reside on the employment premises, that

   18 time spent carrying out assigned duties shall be counted as hours worked.

   19          35.    At all relevant times, Labor Code §1197 provides that the minimum wage for
   20 employees fixed by the IWC is the minimum wage to be paid to employees, and the payment of a

   21 lesser wage than the established minimum is unlawful. Further, pursuant to the IWC Wage Order

   22 and Labor Code, Plaintiff and Class Members are to be paid minimum wage for each hour

   23 worked, and cannot be averaged At all times relevant, the IWC wage orders applicable to Plaintiff

   24 DQG&ODVV0HPEHUV¶HPSOR\PHQWE\'HIHQGDQWVSURYLGHGWKDWHPSOR\HHVZRUNLQJIRUPRUHWKDQ

   25 eight (8) hours in a day or forty (40) hours in a work week are entitled to overtime compensation

   26 at the rate of one and one-half times the regular rate of pay for all hours worked in excess of eight
   27 (8) hours in a day or forty (40) hours in a work week. An employee who works more than twelve

   28 (12) hours in a day is entitled to overtime compensation at a rate of twice the regular rate of pay.


                                                          -7-
                                            CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 10 of 22 Page ID #:23



    1          36.    $WDOOUHOHYDQWWLPHV/DERU&RGHVWDWHV³>D@Q\HPSOR\HURURWKHUSHUVRQV
    2 acting individually as an officer, agent, or employee of another person, who pays or causes to be

    3 paid to any employee a wage less than the minimum fixed by an applicable state or local law, or

    4 by an order of the commission shall be subject to a civil penalty, restitution of wages, liquidated

    5 damages payable to the employee, and any applicable penalties pursuant to Section 203.

    6          37.    Labor Code §510 codifies the right to overtime compensation at the rate of one and
    7 one-half times the regular rate of pay for all hours worked in excess of eight (8) hours in a day or

    8 forty (40) hours in a work week and to overtime compensation at twice the regular rate of pay for

    9 hours worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the
   10 seventh day of work in a particular work week.

   11          38.    At all times relevant, Plaintiff and Class Members regularly performed non-exempt
   12 work and thus were subject to the overtime requirements of the IWC Wage Orders, CCR § 11000,

   13 et. seq. and the Labor Code.

   14          39.    At all times relevant, Plaintiff and Class Members consistently worked in excess of
   15 eight (8) hours in a day and/or forty (40) hours in a week. At all times relevant, Defendants failed

   16 to pay all wages and overtime owed to Plaintiff and Class Members for the work commenced prior
   17 to and after their scheduled shifts GXHWRWKH'HIHQGDQWV¶XQODZIXOURXQGLQJSROLFLHV

   18          40.    At all relevant times, Defendants failed to accurately calculate bonuses earned by
   19 Plaintiff and Class Members into their regular rates of pay for overtime purposes, resulting in an

   20 inaccurate payment of overtime to Plaintiff and Class Members.

   21          41.    Accordingly, Defendants owe Plaintiff and Class Members overtime wages, and
   22 have failed to pay Plaintiff and Class Members the overtime wages owed.

   23          42.    Pursuant to Labor Code §§ 510, 558 and 1194, Plaintiff and Class Members are
   24 entitled to recover their unpaid wages and overtime compensation, as well as interest, costs, and

   25 DWWRUQH\V¶IHHV.

   26                                  SECOND CAUSE OF ACTION
   27                            FAILURE TO PAY TIMELY PAY WAGES
   28                                      (Against All Defendants)

                                                      -8-
                                           CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 11 of 22 Page ID #:24



    1          43.    Plaintiff incorporates and re-alleges each and every allegation contained above as
    2 though fully set forth herein.

    3          44.    Labor Code § 204 requires an employer to make payable all wages mentioned in
    4 Section 201, 201.3, 202, 204.1, or 204.2, earned by any person in any employment twice during

    5 each calendar month, on days designated in advance by the employer as the regular paydays. The

    6 requirements of this section shall be deemed satisfied by the payment of wages for weekly,

    7 biweekly, or semimonthly payroll if the wages are paid not more than seven calendar days

    8 following the close of the payroll period

    9          45.    During the relevant time period, Defendants failed to timely pay Plaintiff and Class
   10 Members for bonuses earned in violation of §204 as such payments were not made during the

   11 course of the regular pay schedule and were made more than seven calendar days following the

   12 close of the payroll period..

   13          46.    Labor Code §§201-202 requires an employer who discharges an employee to pay
   14 compensation due and owing to said employee immediately upon discharge and that if an

   15 employee voluntarily leaves his or her employment, his or her wages shall become due and

   16 payable not later than seventy-two (72) hours thereafter, unless the employee has given seventy-
   17 two (72) hours previous notice of his or her intention to quit, in which case the employee is

   18 entitled to his or her wages on their last day of work.

   19          47.    Labor Code §203 provides that if an employer willfully fails to pay compensation
   20 promptly upon discharge, as required by Labor Code §§201-202, the employer is liable for waiting

   21 time penalties in the form of continued compensation for up to thirty (30) work days.

   22          48.    During the relevant time period, Defendants willfully failed and refused, and
   23 continue to willfully fail and refuse, to pay Plaintiff and Class Members their wages, earned and

   24 unpaid, either at the time of discharge, or within seventy-two (72) hours of their voluntarily

   25 OHDYLQJ'HIHQGDQWV¶HPSOR\7KHVHZDJHVLQFOXGHregular and overtime.

   26          49.    As a result, Defendants are liable to Plaintiff and members of the Non-Exempt
   27 Production Employee class for waiting time penalties pursuant to Labor Code §§203 and 204, in

   28 an amount according to proof at the time of trial.


                                                      -9-
                                           CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 12 of 22 Page ID #:25



    1                                     THIRD CAUSE OF ACTION
    2          FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
    3                                        (Against All Defendants)
    4         50.     Plaintiff incorporates and re-alleges each and every allegation contained above as
    5 though fully set forth herein.

    6         51.     Section 226(a) of the California Labor Code requires Defendants to itemize in wage
    7 statements all deductions from payment of wages and to accurately report total hours worked by

    8 Plaintiff and the Class including applicable hourly rates and reimbursement expenses among other

    9 things. Defendants have knowingly and intentionally failed to comply with Labor Code section
   10 226 and 204 on wage statements that have been provided to Plaintiff and the Class.

   11         52.     IWC Wage Orders require Defendants to maintain time records showing, among
   12 others, when the employee begins and ends each work period, meal periods, split shift intervals

   13 and total daily hours worked in an itemized wage statement, and must show all deductions and

   14         reimbursements from payment of wages, and accurately report total hours worked by
   15 Plaintiff and the Class. On information and belief, Defendants have failed to record all or some of

   16 the items delineated in Industrial Wage Orders and Labor Code §226.
   17         53.     Defendants have failed to accurately record all hours worked for Plaintiff and Class
   18 Members.

   19         54.     Plaintiff and the Class have been injured as they were unable to determine whether
   20 they had been paid correctly for all hours worked per pay period among other things.

   21         55.     Pursuant to Labor Code section 226, Plaintiff and the Class are entitled up to a
   22 maximum of $4,000 each for record keeping violations.

   23                                    FOURTH CAUSE OF ACTION
   24               VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200, et.seq.
   25                                        (Against All Defendants)
   26         56.     Plaintiff incorporates and re-alleges each and every allegation contained above as
   27 though fully set forth herein.

   28         57.     'HIHQGDQWV¶ FRQGXFW DV DOOHJHG LQ WKLV FRPSODLQW KDV EHHQ DQG FRQWLQXHV WR EH

                                                        - 10 -
                                             CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 13 of 22 Page ID #:26



    1 unfair, unlawful, and harmful to Plaintiff and &ODVV 0HPEHUV 'HIHQGDQWV¶ FRPSHWLWRUV DQG WKH

    2 general public. Plaintiff seeks to enforce important rights affecting the public interest within the

    3 meaning of the California Code of Civil Procedure §1021.5.

    4          58.    'HIHQGDQWV¶ SROLFLHV DFWLYLWLHV DQG DFWLRQV DV DOOHJHG KHUHLQ DUH YLRODWLRQV RI
    5 California law and constitute unlawful business acts and practices in violation of California

    6 Business and Professions Code §§17200, et seq.

    7          59.    A violation of California Business and Professions Code §§17200, et seq., may be
    8 predicated on the violation of any state or federal law. 'HIHQGDQWV¶SROicy of failing to provide

    9 accurate itemized wage statements and failing to compensate Plaintiff and Class Members of
   10 regular wages and overtime wages violates Labor Code §§ 226, 510, 558, 1194,1197 and

   11 applicable IWC Wage Orders and California Code of Regulations.

   12          60.    Plaintiff and &ODVV 0HPEHUV KDYH EHHQ SHUVRQDOO\ DJJULHYHG E\ 'HIHQGDQWV¶
   13 unlawful and unfair business acts and practices alleged herein by the loss of money and/or

   14 property.

   15          61.    Pursuant to California Business and Professions Code §§17200, et seq., Plaintiff
   16 and Class Members are entitled to restitution of the wages withheld and retained by Defendants
   17 during a period that commences four (4) years prior to the filing of this complaint; an award of

   18 DWWRUQH\V¶IHHVLQWHUHVWand an award of costs.

   19                                        PRAYER FOR RELIEF
   20                 WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:

   21                                            Class Certification

   22          1.     That this action be certified as a class action;
   23          2.     That Plaintiff be appointed as the representative of the Class;

   24          3.     That Plaintiff be appointed as the representative of the Subclass; and
   25          4.     That counsel for Plaintiff is appointed as counsel for the Class and Subclass.
   26                                       On the First Cause of Action
   27          1.     For compensatory damages equal to the unpaid balance of minimum wage

   28 compensation owed to Plaintiff and Class members as well as interest and costs;


                                                        - 11 -
                                            CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 14 of 22 Page ID #:27



    1         2.      )RUUHDVRQDEOHDWWRUQH\V¶IHHVDQGFRVWVSXUVXDQWWR/DERU&RGH
    2         3.      For compensatory damages in an amount equal to the amount of unpaid overtime
    3 owed to Plaintiff and Class Members;

    4         4.      For pre-judgment interest on any unpaid overtime compensation due from the day
    5 that such amounts were due;

    6         5.      For liquidated damages in an amount equal to the wages unlawfully unpaid and
    7 interest thereon pursuant to Labor Code § 1194.2; and

    8         For such other and further relief as the Court deems proper.
    9                                     On the Second Cause of Action
   10         1.      For statutory penalties pursuant to Labor Code §§203 and 204;
   11         2.      For interest for wages untimely paid; and
   12         3.      For such other and further relief as the Court deems proper.
   13                                      On the Third Cause of Action
   14         1.      For statutory penalties pursuant to Labor Code §226;
   15         2.      For interest for wages untimely paid; and
   16         3.      For such other and further relief as the Court deems proper.
   17

   18                                     On the Fourth Cause of Action
   19         1.      That Defendants, jointly and/or severally, pay restitution of sums to Plaintiff and
   20 Class Members for their past failure to provide accurate itemized wage statements, and pay wages

   21 due and owing as described herein to Plaintiff and Class Members over the last four (4) years in an

   22 amount according to proof;

   23         2.      For pre-judgment interest on any unpaid wages due from the day that such amounts
   24 were due;

   25         3.      )RU UHDVRQDEOH DWWRUQH\V¶ IHHV WKDW 3ODLQWLII DQG &ODVV 0HPEHUV DUH HQWLWOHG WR
   26 recover;
   27         4.      For costs of suit incurred herein; and
   28         5.      For such other and further relief as the Court deems proper.

                                                       - 12 -
                                            CLASS ACTION COMPLAINT
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 15 of 22 Page ID #:28



    1                                   DEMAND FOR JURY TRIAL
    2         Plaintiff and members of the Class and Subclass request a jury trial in this matter.
    3

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    5
        Dated: October 19, 2018                      JAMES
                                                       MES
                                                         S HAWKINS
                                                           H WKIN
                                                           HA  INS APLC
                                                               IN
    6
                                                     By::
    7                                                       JAMES
                                                            JJA
                                                              AMMEES R. HAWKINS,
                                                                         HAWKINS    S ESQ.
                                                             GREGORY MAURO, ESQ.
    8                                                        MICHAEL CALVO, ESQ.
                                                             Attorneys for Plaintiff RICHARD W.
    9                                                        HANKEY, individually and on behalf of all
                                                             others similarly situated.
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                                           CLASS ACTION COMPLAINT
      Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 16 of 22 Page ID #:29
                                                                                                                                                     SUM-100
                                           SUMMONS                                                                        FOR COURT USE ONLY
                                                                                                                      (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
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YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
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 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
 continuación.
    Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
 que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podrá quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
 colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:2UDQJH&RXQW\6XSHULRU&RXUW                                        CASE NUMBER:
(El nombre y dirección de la corte es):                                                                  (Número del Caso):


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The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
James Hawkins, APLC, 9880 Research Dr., Suite 200, Irvine, CA 92618; Tel: 949-387-7200
DATE:                                                                Clerk, by                                                                        , Deputy
 (Fecha)                                                             (Secretario)                                                                      (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
  [SEAL]
                                  1.      as an individual defendant.
                                  2.      as the person sued under the fictitious name of (specify):


                                      3.        on behalf of (specify):

                                           under:         CCP 416.10 (corporation)                                 CCP 416.60 (minor)
                                                          CCP 416.20 (defunct corporation)                         CCP 416.70 (conservatee)
                                                          CCP 416.40 (association or partnership)                  CCP 416.90 (authorized person)
                                                        other (specify):
                                      4.        by personal delivery on (date):
                                                                                                                                                         Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                                      SUMMONS                                                  Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.courtinfo.ca.gov
   SUM-100 [Rev. July 1, 2009]
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 17 of 22 Page ID #:30
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 18 of 22 Page ID #:31
    Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 19 of 22 Page ID #:32

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Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 21 of 22 Page ID #:34
Case 8:19-cv-00096-DOC-ADS Document 1-2 Filed 01/17/19 Page 22 of 22 Page ID #:35
